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     Federal Defender
 2   ERIN SNIDER, Bar #304781
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, CA 93721-2226
     Telephone: (559) 487-5561
 5   Fax: (559) 487-5950
 6   Attorney for Defendant
     JORGE CELESTINO ALVAREZ-ARIAS
 7
 8                             IN THE UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                  )   Case No. 1:16-cr-00122-DAD-BAM (002)
                                                 )
12                      Plaintiff,               )   REQUEST FOR RULE 43 WAIVER OF
                                                 )   APPEARANCE AT NON-SUBSTANTIVE
13    vs.                                        )   PROCEEDINGS; [PROPOSED] ORDER
                                                 )
14    JORGE CELESTINO ALVAREZ-                   )
      ARIAS,                                     )
15                                               )
                       Defendant.                )
16
17           Pursuant to Federal Rule of Criminal Procedure 43(b)(3), Jorge Celestino Alvarez-Arias,
18   having been advised of his right to be present at all stages of the proceedings, hereby requests
19   that this Court permit him to waive his right to personally appear at all non-substantive
20   proceedings. Mr. Alvarez-Arias agrees that his interests shall be represented at all times by the
21   presence of his attorney, the Office of the Federal Defender for the Eastern District of California,
22   the same as if he were personally present, and requests that this Court allow his attorney-in-fact
23   to represent his interests at all times.
24   ///
25   ///
26   ///
27   ///
28   ///
     Case 1:16-cr-00122-DAD-BAM Document 69 Filed 08/15/16 Page 2 of 2


 1                                                Respectfully submitted,
 2
 3
                                                  HEATHER E. WILLIAMS
 4                                                Federal Defender
 5   Date: August 12, 2016                        /s/ Erin Snider
                                                  ERIN SNIDER
 6                                                Assistant Federal Defender
                                                  Attorney for Defendant
 7                                                JORGE CELESTINO ALVAREZ-ARIAS
 8
 9                                              ORDER
10          Defendant’s request for a waiver of appearance is granted. The appearance of Defendant
11   Jorge Celestino Alvarez-Arias (2) is waived at all non-substantive pretrial proceedings until
12   further order of the Court.
13
14   IT IS SO ORDERED.
15
        Dated:     August 15, 2016                           /s/ Barbara A. McAuliffe                _
16                                                     UNITED STATES MAGISTRATE JUDGE
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